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B`L'M,,.,_..-r.......,__.,.,_
vs. COMPLAINT

CA_RAUS'I`AR INDUSTRIES, ]NC.,

Defendant.

COMES NOW THE PLAII~I'I`IFF,'compIaining of Def_endant_ and alleges:a_nd says that:

1. Plaintiff was a resident of North Carolina at all.times relevant herein.

2. Upon information and belief, Defendant is a corporation organized and existing under
and by virtue of the laws of the State of North Carolina, having a principal place of business in
Davidson County, North (iarolina. Defendant operates an industrial paper business which offers
its products for sale to third parties for profit

3. Plaintifi; Was employed by Defe`ndant as a truck driver until on or about August 4, 2015l
when his employment was terminated n

4. Plaintiff Was originally employed by Sumrner lndustries as a driver untii Summer
Industries Was purchased by Defendant and then Plaintift` became an employee of Defendant.

FIRST CAUSE O_F ACTION: REDA

5. The allegations set forth in paragraphs one through four are realleged and incorporated
by reference as if fully Set forth.

6. Plaintiff suffered an on the job injury on or about November 18, 2014. He'oontinued
to be under his physician’s care for the injury when Defendant became the new owner of the

company on or about July,` 2015. ‘

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7. Despite the good quality of his Work, two days prior to Defendant becoming the new
owner of Plaintiff' s employer, he was allegedly accused of aggressive driving behavior at work
by anonymous members of the public. Within four days of Defendant becoming the new owner
of the company, his employment wasrterminated allegedly for hostile behavior.

8-'. Upon information and belief, the true reason for the termination of his_employment
was retaliation for exercising his rights under the North Carolina Worker’s Compcnsation Act
and the ongoing nature of his medical treatment for the injury.

9. Upon'informa_tion and belief, all managers of Defendant .we_r,e acting within the course
and scope of their employment While processing-the ongoing time away from work for medical
treatment associated with the worker’s compensation claim, supervising Plaintiff, and
terminating his employment

10. The conduct of Defendant, as herein set out, constitutes-a violation of N.C.G.S.§9$-
240 Min that Plaintiff’s treatment and termination were in retaliation for Plaintiff exercising
his rights under the worker’s compensation act. Within 180 days of the last act of retaliation, t
Plaintiff filed a charge of retaliatory discharge with the Departrnent of Labor pursuant to the
statute.

11. Plaintiff has completed all jurisdictional requirements for pursuit of a claim under
this statute. Upon conclusion of its investigation, Plaintiff Was sent his right to sue letter on
Said charge of retaliatory discharge At this time, Plaintiff has decided to institute a private
lawsuit and is filing same within ninety (90) days of issuance of the right to sue letter.

12. That, upon information and belief, the conduct of the Defendant as stated above

Was willful.

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13. Said retaliation and subsequent termination of Plaintist employment by Defendant,
by and through its duly authorized agents, is the direct and proximate cause of injury to Plaintiff
in an amount in excess of $25,000.00 representing lost wages and benefits.

14. Plaintiff has norplain, adequate or complete remedy at law to redress the wrongs
alleged herein and this suit for declaratory and injunctive relief is the only means for relief.

15. As a direct and proximate cause of the Defendant’s conduct, Plaintiff has suffered
damages in excess of $25,000.00 based upon lost wages and lost employee benefits

SECOND CAU§E OF ACTIQN: PQMTIVE DAMA.§.§E~ S .

16. The allegations set forth in paragraphs one through fifteen are realleged and
incorporated by reference as if fully set forth.

17 . The above described acts or omissions of the Defendant, by and through its duly
authorized agents acting within the scope of their employment, constitute Wrongs done wantonly,
willfully, or with actual malice, or under circumstances of rudeness, insult, indignity, oppression,
or in a manner which demonstrates a reckless disregard of the Plaintiff’s rights

18. Plaintiff is entitled to recover of Defendant on this cause an amount to be determined
at trial as punitive damages to deter discrimination by Defendant in the future.

WHER.EFORE, Plaintiff prays for judgment as follows:

l. Entry of a preliminary and permanent injunction enjoining Defendant, its officers,
employees, agents and all persons acting in concert with Defendant, from engaging in retaliatory
discharge on the basis of filing a worker’s compensation claim and directing Dcfendant to
reinstate Plaintiff to the employment from which he was terrninated, and to restore to him all

wages, retirement benefits and other employment benefits due him from the date oftermination;

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2. Entry of a money judgment against Defendant awarding Plaintiff damages
representing lost wages, front pay, and all other sums of money, including retirement benefits and
other employment benefits which Plaintiff would have earned had he not been terminated in
retaliation for filing a worker’s compensation claim, together with interest on said amounts from
Plaintiff’ s date of termination Pursuant to the statute, the damages should be trebled as the
conduct by Defendant was wilful;

3. An award to Plaintiff for the costs of the prosecution of this action, including
reasonable attorney's fees; and .-_..»-

4. An award to Plaintiff of such other and further relief as to the Court may seem just and

proper.
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